           Case 24-90165 Document 537 Filed in TXSB on 07/19/24 Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            )
In re:                                                      )        Chapter 11
                                                            )
CURO Group Holdings Corp., et al.,                          )        Case No. 24-90165 (MI)
                                                            )
                                     Debtors.1              )        (Jointly Administered)
                                                            )        Re: Docket No. 325, 378, 436

                     NOTICE OF OCCURRENCE OF THE EFFECTIVE DATE
       PLEASE TAKE NOTICE that on May 16, 2024, the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”) entered the Order Approving the Debtors’
Disclosure Statement for, and Confirming, the Joint Prepackaged Plan of CURO Group Holdings
Corp. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 378]
(the “Confirmation Order”), confirming the Joint Prepackaged Plan of Reorganization of CURO
Group Holdings Corp. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 325] (the “Plan”).2 On May 17, 2024, the Debtors received recognition of the
Confirmation Order in the Canadian Court.3

       PLEASE TAKE FURTHER NOTICE THAT the Effective Date occurred on July 19,
2024. Each of the conditions precedent to consummation of the Plan as set forth in Article IX of
the Plan has been either satisfied or waived in accordance with the Plan and the Confirmation
Order.

       PLEASE TAKE FURTHER NOTICE THAT, unless otherwise provided by the Plan,
the Confirmation Order, any other applicable order of the Bankruptcy Court, or agreed to by the
Holder of an Administrative Claim and the Debtors, the deadline for filing requests for payment
of Administrative Claims, other than Professional Fee Claims, is no later than August 19, 2024
(the “Administrative Claims Bar Date”). Holders of Administrative Claims (other than
Professional Fee Claims) that are required to, but do not, file and serve a request for payment of
such Administrative Claims by the Administrative Claims Bar Date shall be forever barred,
estopped, and enjoined from asserting such Administrative Claims against the Debtors or their
property and such Administrative Claims shall be deemed discharged as of the Effective Date.



1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/Curo. The location of the Debtors’ service address for purposes
of these chapter 11 cases is 101 N. Main Street, Suite 600, Greenville, SC 29601.
2
 Capitalized terms used but undefined herein shall have the meanings given to them in the Plan and the Confirmation
Order, as applicable.
3
    See Notice of Action by Foreign Representative, dated May 28, 2024 [Docket No. 436].
        Case 24-90165 Document 537 Filed in TXSB on 07/19/24 Page 2 of 3




        PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan, the deadline to file all
final requests for payment of Professional Fee Claims is no later than September 3, 2024. All
Retained Professionals must file final requests for payment of Professional Fee Claims by no later
than this date to receive final approval of the fees and expenses incurred in the Chapter 11 Cases.

        PLEASE TAKE FURTHER NOTICE THAT the terms of the Plan and the Plan
Supplement are immediately effective and enforceable and deemed binding upon the Debtors, any
and all Holders of Claims or Interests (irrespective of whether the Holders of such Claims or
Interests accepted or rejected the Plan), all Entities that are parties to or are subject to the
settlements, compromises, releases, and injunctions described in the Plan, each Entity acquiring
property under the Plan, any and all non-Debtor parties to Executory Contracts and Unexpired
Leases with the Debtors, and all other parties in interest and Entities, and their respective
successors and assigns.

        PLEASE TAKE FURTHER NOTICE THAT copies of the Confirmation Order, the
Plan, and all documents filed in these Chapter 11 Cases are available free of charge by visiting
https://dm.epiq11.com/Curo. You may also obtain copies of any pleadings by visiting the
Bankruptcy Court’s website at https://ecf.txsb.uscourts.gov in accordance with the procedures and
fees set forth therein.




                                                2
       Case 24-90165 Document 537 Filed in TXSB on 07/19/24 Page 3 of 3




Dated: July 19, 2024
       Houston, Texas
                                 /s/ Sarah Link Schultz
                                 AKIN GUMP STRAUSS HAUER & FELD LLP
                                 Sarah Link Schultz (State Bar No. 24033047;
                                 S.D. Tex. 30555)
                                 Patrick Wu (State Bar No. 24117924;
                                 S.D. Tex. 3872088)
                                 2300 N. Field Street, Suite 1800
                                 Dallas, TX 75201-2481
                                 Telephone: (214) 969-2800
                                 Facsimile: (214) 969-4343
                                 Email: sschultz@akingump.com
                                         pwu@akingump.com

                                 -and-

                                 Michael S. Stamer (admitted pro hac vice)
                                 Anna Kordas (admitted pro hac vice)
                                 Omid Rahnama (admitted pro hac vice)
                                 One Bryant Park
                                 New York, NY 10036-6745
                                 Telephone: (212) 872-1000
                                 Facsimile: (212) 872-1002
                                 Email: mstamer@akingump.com
                                        akordas@akingump.com
                                        orahnama@akingump.com

                                 Counsel to the Debtors




                                         3
